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Jackson Walker LLP                                            Bell Nunnally & Martin LLP
1401 McKinney St, Suite 1900                                  2323 Ross Ave., Suite 1900
Houston, TX 77010                                             Dallas, TX 75201



                                          April 15, 2022

Judge George C. Hanks, Jr.                            Filed & Served via CM/ECF
c/o Byron Thomas                                      & by Email: cm4147@txs.uscourts.gov
Case Manager
515 Rusk Street, Room 5300
Houston, TX 77002

       Re:     Joint Discovery Dispute Letter: EasyKnock, Inc., et al. v. Feldman & Feldman,
               P.C., et al.; CA No. 4:21-cv-03669; USDC, Southern District of Texas, Houston
               Division.

Dear Judge Hanks:

        Pursuant to Court Procedures Rule 6(e), and at Magistrate Judge Edison’s direction at the
Initial Conference held on April 14, 2022, Plaintiffs and Defendants submit this joint discovery
dispute letter to the Court. Defendants seek a further stay of discovery; Plaintiffs are opposed.

A.     Defendants’ Statement of the Discovery Dispute

       At the Initial Conference, Defendants reiterated their position, as set forth in the joint
discovery/case management plan [Dkt. 46], that discovery in this case should be stayed until after
the Court rules on Defendants’ Motion to Dismiss for Failure to State a Claim, or Alternatively, to
Stay or Abate this Proceeding. (“Motion to Dismiss’) [Dkt. 42]. In recognition of this request,
Judge Edison stated on the record that a stay of discovery is in effect until the Court rules on
Defendants’ request for a formal stay of discovery.

        Counsel for the parties have discussed a stay on numerous occasions, including during a
meet and confer telephone call on March 23, 2022 (John Edwards for Defendants, Chris
Trowbridge/Saba Syed for Plaintiffs), by subsequent emails regarding the joint discovery/case
management plan over the following week (same counsel), and again by email after the Initial
Conference (same counsel). At all such times, Plaintiffs’ position has not changed – there should
be no stay of discovery pending a ruling on the Motion to Dismiss.

       As Defendants have fully briefed with respect to their Motion to Dismiss, this case
implicates important constitutional free speech rights, and on the multiple grounds presented,
should be dismissed under Rule 12(b)(6). Indeed, this Court previously denied Plaintiffs’ motion
for temporary restraining order, in part based on the finding that the speech at issue is non-
actionable opinion.

       Discovery before a ruling on the Motion to Dismiss would not only be potentially wasteful
of time and resources, but is highly likely, if not certain, to intrude into attorney-client and work



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product privileges applicable to Defendants’ work on behalf of clients/plaintiffs who have sued
EasyKnock in over 20 cases currently pending in federal courts throughout Texas. Indeed, in the
joint discovery/case management plan, Plaintiffs not only identify Defendants’ clients as
deposition targets, but also potentially adding Defendants’ co-counsel in the multiple cases against
EasyKnock, Robin Zeik, as a defendant in this case. EasyKnock has even filed a grievance against
Cris Feldman, which has been summarily dismissed, and has encouraged others to do so as well.
Clearly, this case is a stalking horse and litigation tactic to gain advantage in collateral litigation,
and thus a stay of discovery would be proper.

       Plaintiffs’ contention that an “indefinite delay” is sought is simply not true, nor is there any
prejudice created by a brief stay to allow the Court to rule.

B.     Plaintiffs’ Statement of the Discovery Dispute

        Plaintiffs filed this case on November 8, 2021; the DCO sets trial for August or September
2023. The timely prosecution of this lawsuit is of critical importance to Plaintiffs because
Defendants’ defamation and tortious interference is a direct attack on Plaintiffs’ entire business
model and has caused substantial damage. Plaintiffs need sufficient time to conduct discovery so
that they can present their case on the current trial date. The discovery includes initial disclosures,
written discovery of the parties, third-party discovery, and depositions. Any discovery of plaintiffs
in the related cases concern communications before the attorney-client relationship with Feldman
was formed. Privilege does not and should not prevent discovery in this instance. Plaintiffs also
intend to depose Robin Ziek to determine whether she should be added as a party to this case.

       This lawsuit is not a litigation tactic; to the contrary, it addresses Defendants’ false attacks
on Plaintiffs’ business model, resulting in the numerous lawsuits referenced by Defendants.

         A stay of discovery would prejudice Plaintiffs in a variety of ways: (1) it would indefinitely
delay Plaintiffs’ ability to prosecute their case; (2) it would narrow the window available to
Plaintiffs to discover their case; (3) it would hinder the possibility of early case resolution and
settlement because Defendants represented in their joint plan that any settlement discussions
“should await a ruling on a pending potentially dispositive motion . . .” (ECF No. 46, Section 15)
whereas discovery could push the parties to discuss settlement earlier; and (4) it presumes that an
order denying Plaintiffs’ application for temporary injunction is equivalent to an order granting
Defendants’ Motion. It is not. An application for injunctive relief presents different legal analysis
that is not present in a motion to dismiss. Further, a motion to dismiss places a more challenging
burden of proof on the Defendants. Finally, at the initial conference, Judge Edison confirmed that
discovery should generally not be stayed pending a ruling on a motion to dismiss. While exceptions
to this general rule exist, the grounds Defendants offer to support such an exception do not exist.
Rather, Defendants only justify their request for a stay by contending that the merits of their
Motion to Dismiss override Plaintiffs’ right to discovery.

       In summary, Defendants request a continued stay of discovery, and Plaintiffs are opposed.
The parties request the Court rule on this discovery dispute.
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  By: /s/ Charles L. Babcock            By: /s/ Christopher B. Trowbridge
      Charles L. Babcock                    Christopher B. Trowbridge
      Attorney-in-charge                    Attorney-in-charge
      Texas Bar No. 01479500                Texas Bar No. 24008182
      cbabcock@jw.com                       ctrowbridge@bellnunnally.com
      John K. Edwards                       Kristopher D. Hill
      Texas Bar No. 24002040                Texas Bar No. 24066674
      jedwards@jw.com                       khill@bellnunnally.com
                                            Saba F. Syed
      JACKSON WALKER LLP                    Texas Bar No. 24088497
      1401 McKinney St, Suite 1900          ssyed@bellnunnally.com
      Houston, TX 77010                     Scott R. Larson
      (713) 752-4210                        Texas Bar No. 24097971
      (713) 308-4110 – Facsimile            slarson@bellnunnally.com

      ATTORNEYS FOR DEFENDANTS              BELL NUNNALLY & MARTIN LLP
                                            2323 Ross Ave., Suite 1900
                                            Dallas, TX 75201
                                            (214) 740-1400
                                            (214) 740-1499 – Facsimile

                                            ATTORNEYS FOR PLAINTIFFS
